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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
___________________________________
                                    )
MARANDA LYNN ODONNELL, et al., )
                                    )
      Plaintiffs,                   )
                                    )        No. 4:16-CV-01414
vs.                                 )        (Consolidated Class Action)
                                    )        Honorable Lee H. Rosenthal
HARRIS COUNTY, TEXAS, et al.,       )        U.S. District Judge
                                    )
      Defendants.                   )
___________________________________ )


       DEFENDANTS FOURTEEN JUDGES, HARRIS COUNTY, AND HEARING
     OFFICERS’ BRIEF IN SUPPORT OF THEIR PROPOSED SCHEDULING ORDER

        Defendants Judges of Harris County Criminal Courts at Law 1–13 and 15, Harris County,

and the Hearing Officers (collectively, “Defendants”) respectfully submit this brief in support of

their proposed scheduling order (attached as Exhibit A). Part I of this brief addresses the schedule

for discovery and a merits trial. Part II addresses the summary judgment briefing schedule.

I.      Schedule for Discovery and Merits Trial

        Defendants recognize that the Court suggested at the status conference last week that trial

on Plaintiffs’ claims for permanent injunctive relief should take place during the Fall of 2018.

Nevertheless, for the reasons stated below, we respectfully submit that a trial should not take place

until a record is developed that reflects the new reformed bail system, as opposed to the bail system

in place prior to entry of the 2017 preliminary injunction or the bail system imposed by this Court’s

2017 preliminary injunction. The process of developing that record cannot begin until, at the

earliest, after the current preliminary injunction is vacated, and we respectfully submit that a

minimum of six months operation under the reformed system is necessary to develop an adequate

record. With a reasonable period for expert analysis of the data generated by operation of the
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revised system, the preparation of expert reports, and expert discovery, trial can reasonably be

scheduled for next March.

        Wholly apart from the need for experience under the reformed system, we respectfully

submit that it is not reasonable to prepare for and conduct a trial on the merits of Plaintiffs’ claims

for permanent injunctive relief in September, as Plaintiffs propose. Given the complexity of the

issues and the need for extensive expert analysis and discovery, three months is simply not enough

time. And given that the County will be operating under a preliminary injunction, holding a trial

after a reasonable time for discovery and trial preparation will not prejudice Plaintiffs.

        First, as this Court has recognized, Plaintiffs filed this suit when Harris County was on the

cusp of implementing a host of changes to its pretrial bail system. Among these changes are the

following:

   •    Harris County has adopted the Laura and John Arnold Foundation Public Safety
        Assessment (“the Arnold Tool”), a nationally validated risk-assessment tool, and it
        has implemented a new bail schedule based on the Arnold Tool. The Arnold Tool and
        new bail schedule allow Pretrial Services officers to better identify, and judicial officers to
        better evaluate, which arrestees should be released on personal bond shortly after arrest.
        The new bail schedule even identifies a number of arrestees who are presumptively entitled
        to release on personal bond. See Memorandum and Opinion Setting Out Findings of Fact
        and Conclusions of Law 117–19 (Apr. 28, 2017), Doc. 302 (“PI Mem.”).

   •    Harris County has implemented a program that provides arrestees with counsel even
        at their probable cause and bail hearings before Hearing Officers. The presence of
        public defenders at these early hearings helps ensure that arrestees are able to request
        release on personal bond or secured money bail they can afford, and it helps ensure that
        Hearing Officers consider all arguments in support of the arrestees’ request for a particular
        bail amount or type. See PI Mem. at 122.

   •    In August, Harris County will open a new joint processing center with the City of
        Houston that promises to substantially shorten the time between when arrestees are
        arrested and when they appear before a Hearing Officer. See PI Mem. at 121–22. Once
        the new joint processing center comes online, Harris County’s process for bringing many
        arrestees before Hearing Officers—and the time for arrestees to appear before Hearing
        Officers—should be quicker than the process before the complaint was filed. Moreover,
        the new infrastructure is anticipated to expedite both booking and release. And Houston
        Police Department arrestees will now be brought directly to the new processing center.

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    •    Harris County has greatly expanded its “early presentment” policy. This Court found
         during the preliminary injunction phase that “early presentments are rare.” PI Mem. at 61.
         However, since this Court entered the preliminary injunction, Harris County has greatly
         expanded the number of arrestees who receive early presentment, generally allowing
         arrestees who are presumptively entitled to a personal bond under the new bail schedule to
         be eligible for early presentment.

    •    Harris County and the County Judges have adopted the procedural protections
         required by the model injunction set out in the Fifth Circuit’s opinion to the extent
         possible under this Court’s injunction and will fully adopt these procedures if possible
         under the revised injunction.

Defendants expect that these reforms will have a significant—and significantly positive—effect

on the pretrial bail system in Harris County. They will permit Harris County and the judicial

officers to better identify and evaluate those arrestees eligible for pretrial release on personal bond,

to better ensure Hearing Officers and County Judges have before them the necessary information

and argument to make bail decisions, and to more quickly present arrestees who are not released

via early presentment before magistrates for individualized assessment.

         During the past year, the bail system has been operating under this Court’s April 2017

preliminary injunction, which requires the release within 24 hours of almost all arrestees who

cannot afford secured money bail. Accordingly, Harris County has never operated under a system

that includes the new reforms but does not also require release of arrestees within 24 hours of

arrest. While Defendants have attempted to apply the Arnold Tool and the new bail schedule during

the period in which the preliminary injunction has been in effect, application of these reforms has

necessarily been skewed, both by the truncated 24-hour limitation imposed by the preliminary

injunction and by the reality that regardless of the decision made by the Hearing Officer, the

arrestee would be released at the 24-hour mark pursuant to the Court’s order. Under the new

timetable outlined by the Fifth Circuit, there will be sufficient time for those arrestees who are not

released via early presentment to receive an individualized hearing and for the Sheriff to initiate

the release process following that hearing, with arrestees leaving the jail before (and sometimes
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well before) the 48-hour mark. As the Fifth Circuit emphasized, the 24-hour requirement imposed

a “heavy administrative burden,” the County often could not meet the analogous state law

requirement for determination of probable cause, and “[i]mposing the same requirement for bail

would only exacerbate such issues.” ODonnell v. Harris County, 2018 WL 2465481, at *8 (5th

Cir. June 1, 2018). Similarly, the impact of the public defenders has been circumscribed and

obscured by the limited 24-hour period before virtually all arrestees are automatically entitled to

pretrial release. Moreover, the new inmate processing center has not yet been opened, and all of

the procedural protections required by the Fifth Circuit are not yet in place. If this Court adopts a

new preliminary injunction that does not deviate substantively from the Fifth Circuit’s model

injunction, Harris County and the County Judges will begin operating the bail system that would

be in effect absent permanent injunctive relief. We respectfully submit that the Court cannot assess

the constitutionality of that system without a record demonstrating how it operates.

       Second, the facts on which the Court based its preliminary injunction cannot provide the

basis for Plaintiffs’ requested relief. Where, as here, the current system differs from the system

that was in place at the time the complaint was filed, it is settled that courts must evaluate the

constitutionality of the system currently in place, not the older, now-defunct system. In Pugh v.

Rainwater, 572 F.2d 1053, 1058 (5th Cir. 1978) (en banc), the Fifth Circuit held that a “record

before the Court contain[ing] only evidence of practices under criminal procedures which predate

the adoption of the current Florida rule” could not support the entry of injunctive relief. The Court

explained that any attack on the previous practices was moot, and “adjudication of the merits of a

constitutional challenge addressed to [the new rule] should await presentation of a proper record

reflecting application [of the new rule] by the courts of the State of Florida.” Id. at 1058–59. The

“proper record” required by Rainwater cannot be developed and presented until the County has


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the opportunity to operate under the reformed bail system. This Court’s new preliminary injunction

likely will not take effect until sometime in July or August, or only about two months before trial

could commence under Plaintiffs’ proposal. 1

       Third, even apart from the fact that there currently exists no evidence regarding how the

current bail system will operate in the absence of this Court’s injunction, Plaintiffs have made

clear that they will seek during the permanent injunction trial an injunction that will significantly

alter the Harris County bail system. Plaintiffs apparently intend to seek an injunction that will

require the near-immediate release of most misdemeanor arrestees, and that will additionally

require strict scrutiny before the County may impose, for a small number of arrestees, secured

money bail in excess of what the arrestee can afford. They further apparently intend to rest their

case for this far-reaching injunctive relief based on an analysis of the effects secured money bail

has on failure-to-appear rates and public safety. And this relief, of course, will have substantial

effects on the administration of justice in Harris County, and would replace the democratic will of

Texas and Harris County voters with the decision of a federal court.

       Defendants must be afforded an adequate opportunity to conduct discovery and prepare for

trial on Plaintiffs’ far-reaching requested injunction. A trial in September or October, as Plaintiffs

have requested, would require the parties to conduct both fact and expert discovery, and prepare

for trial, as well as brief and argue Plaintiffs’ pending summary judgment motion and their own

cross-motion, in 90 to 120 days. In counsel’s experience, this is a far more compressed timeframe

than that followed in the mine-run of federal cases, and the factual and legal questions presented




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         Moreover, as the Fifth Circuit recognized, it will take the County some “additional time
to comply” with the proposed injunction’s reporting requirement, see ODonnell, 2018 WL
2465481, at *12, because it will require certain adjustments and changes to the County’s data
tracking and reporting mechanisms.
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in this case and the far-reaching relief that Plaintiffs seek are far more complex than those arising

in a mine-run case. Even setting aside counsel’s obligations in other pending cases, three or four

months is not sufficient for Defendants to adequately prepare for trial. Significant preparation

could not reasonably have begun until this time, both because the parties do not yet know what the

system will look like under the revised preliminary injunction and because the parties have been

devoting significant resources to conducting the preliminary injunction hearing, appealing that

injunction, briefing a number of related issues in both this Court and the Fifth Circuit, and

complying with ongoing discovery obligations.

II.    Summary Judgment Briefing Schedule

       Defendants and Plaintiffs have agreed to a briefing schedule for pretrial summary judgment

motions. On June 8, 2018, Plaintiffs filed a Motion and Memorandum in Support of Motion for

Partial Summary Judgment, Doc. 400. In the ordinary course, this motion would be submitted for

this Court’s consideration within 21 days of its filing, i.e., on June 29, 2018. See Local Rule 7.3.

Defendants (with Plaintiffs’ consent) respectfully request what is effectively a seven-day extension

of time, to July 6, 2018, both to respond to Plaintiffs’ motion and to file their own cross-motion

for summary judgment. Defendants and Plaintiffs propose that Plaintiffs then have until August 3,

2018, to respond to Defendants’ motion for summary judgment and to reply in support of their

own motion, and that Defendants have until August 17, 2018, to reply in support of their motion.

We respectfully submit that this timeframe is reasonable in light of their other pressing deadlines

in this case, which included preparing for last week’s status conference, and reviewing and

commenting on the Court’s draft revised preliminary injunction. Plaintiffs do not object to this

briefing schedule for the summary judgment motions.




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                                          CONCLUSION

       For the foregoing reasons, we respectfully submit that the Court should enter the proposed

scheduling order attached as Exhibit A.

Date: June 21, 2018                            Respectfully submitted,

/s/ Charles J. Cooper                          /s/ Sheryl A. Falk
Charles J. Cooper                              Sheryl A. Falk
District of Columbia Bar No. 248070            Attorney-in-Charge
ccooper@cooperkirk.com                         Texas State Bar No. 06795350
Michael W. Kirk                                sfalk@winston.com
District of Columbia Bar No. 424648            Robert L. Green
William C. Marra                               Texas State Bar No. 24087625
District of Columbia Bar No. 1019098           Corinne Stone
COOPER & KIRK, PLLC                            Texas State Bar No. 24102541
1523 New Hampshire Ave., NW                    WINSTON & STRAWN LLP
Washington, D.C. 20036                         1111 Louisiana St., 25th Floor
Telephone: (202) 220-9600                      Houston, TX 77002
                                               Telephone: (713) 651-2600

       Counsel for Defendants Fourteen Judges of Harris County Criminal Courts at Law

Office of the Harris County Att’y                   HUSCH BLACKWELL LLP

/s/ Melissa Spinks                                  /s/ Mike Stafford
Melissa Spinks                                      Mike Stafford
Texas Bar No. 24029431                              State Bar No. 18996970
1019 Congress, 15th Floor                           Katharine D. David
Houston, Texas 77002                                State Bar No. 24045749
Tel: 713-274-5101                                   Philip J. Morgan
melissa.spinks@cao.hctx.net                         State Bar No. 24069008
                                                    Benjamin Stephens
                                                    State Bar No. 24098472
                                                    1800 Bering Drive, Suite 750
                                                    Houston, Texas 77057
                                                    Phone: (713) 647-6800
                                                    mike.stafford@huschblackwell.com
                                                    kate.david@huschblackwell.com
                                                    phil.morgan@huschblackwell.com
                                                    ben.stephens@huschbalckwell.com

 Counsel for Harris County, Texas, Eric Stewart Hagstette, Joseph Licata III, Ronald Nicholas,
                         Blanca Estela Villagomez, and Jill Wallace


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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2018, I electronically filed the foregoing document with

the Clerk of Court through the CM/ECF system for service this day via transmission of Notice of

Electronic Filing generated by ECF to all counsel of record.



                                                    /s/ Charles J. Cooper
                                                    Charles J. Cooper




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